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                    UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA


  RICHARD GLOSSIP, et al.,

                                   Plaintiffs,

  v.                                                          No:     14-cv-665-F


  RANDY CHANDLER, et al.,

                                   Defendants.


                  DEFENDANTS’ MOTION IN LIMINE
          TO EXCLUDE THE TESTIMONY OF DR. JAMES WILLIAMS

       Donald Grant and Gilbert Postelle (the “Movants”) affirmatively refused to select an

alternative method of execution. Doc. 425-18 at 75 (Donald Grant); Doc. 437 at 21 (Postelle).

Movants then tried to change their litigation strategy after losing at summary judgment Doc.

467, which this Court denied, Doc. 493. Indeed, Movant Donald Grant’s post-judgment

switch again declined to plead the firing squad as an alternative method of execution. See Doc.

467-2 at 2.

       The proffering of Dr. Williams’s testimony on a firing squad alternative is just an

improper attempt to circumvent this Court’s prior rulings. Because these Movants did not

plead an alternative, the merits of any other Plaintiffs’ alternative has no bearing on whether

these Movants are entitled to an injunction. Accordingly, the Court should exclude Dr.

Williams’s testimony as irrelevant. See Fed. R. Evid. 401, 402.



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                                  Respectfully submitted,

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